            CASE 0:20-cv-01630-JRT-BRT Doc. 39 Filed 10/01/20 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Peakspeed, Inc.,                                    Civil File No. 0:20-cv-01630-JRT-BRT

                      Plaintiff,                  DECLARATION OF PATRICK
                                                   LOSIQUE IN SUPPORT OF
v.                                               PLAINTIFF’S OPPOSITION TO
                                               DEFENDANT’S MOTION TO DISMISS
Timothy Emerson,

                      Defendant.



I, Patrick Losique, state as follows:

       1.       I am employed by Plaintiff Peakspeed, Inc. (“Peakspeed”) as a core

developer. I submit this Declaration in support of Peakspeed’s Motion in Opposition to

Defendant’s Motion to Dismiss. I have personal knowledge of the matters set forth in

this Declaration, and if called to testify in this case I would and could competently testify

as to such matters.

       2.       I started working for EmersonAI as an independent contractor in December

2019. Pursuant to my work as an independent contractor for EmersonAI, I signed a

Service Agreement. That Service Provider Agreement has since terminated. I do not

have any other agreements with EmersonAI that may be made public. My tenure with

EmersonAI ended when I began working for Peakspeed.

       3.       I have worked remotely and exclusively for Peakspeed since January 2020.
            CASE 0:20-cv-01630-JRT-BRT Doc. 39 Filed 10/01/20 Page 2 of 2




       4.       I understood that Dave Eaton (“Dave”) was the Chief Executive Officer of

Peakspeed and that Tim Emerson was the Chief Technical Officer. Dave was in charge

and everyone worked for Dave.

       5.       My salary is direct deposited to me. I know that Dave Eaton pays my

salary. He also purchased my work laptop.


       I declare under penalty of perjury under the laws of the United States of America

and the State of Colorado that the foregoing is true and correct.




Dated: October 1, 2020                        By: /s/ Patrick Losique
                                                  Patrick Losique




                                             2
